            Case 1:21-cv-02900-CJN Document 19 Filed 12/20/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN

       v.

HERRING NETWORKS, INC.,                              Judge Carl J. Nichols

                   Defendant.


                             LOCAL RULE 26.1 CERTIFICATE

       I, the undersigned counsel of record for Herring Networks, Inc., certify that, to the best of

my knowledge and belief, there are no parent companies, subsidiaries, affiliates, or companies that

own at least 10% of the stock of Herring Networks, Inc., which have any outstanding securities in

the hands of the public. These representations are made so that the judges of this Court may

determine the need for recusal.

 Dated: December 20, 2021                         Respectfully submitted,

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Case 1:21-cv-02900-CJN Document 19 Filed 12/20/21 Page 2 of 3




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                               Counsel for Herring Networks, Inc.




                             -2-
         Case 1:21-cv-02900-CJN Document 19 Filed 12/20/21 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of December 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.

                                                     /s/ Blaine Kimrey
                                                     Blaine Kimrey




                                               -3-
